                     Case 21-03842             Doc 1       Filed 03/24/21 Entered 03/24/21 22:35:43                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (i   knownt                                                       Chapter      1',|

                                                                                                                            E   cne* if this an
                                                                                                                                amended filing
                                                                                                            __=1


Official Form 201
Volunta                   Petition for Non-lndividuals Fili
                                                                                                                                               (if
lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number
known). io6ore information, a separate document, lnstructions for Bankruptcy Forms for Non-lndividuals, is available.


1.    Debtor's name               COMFORT CARE, LLC.

2.    All other names debtor
      used in the last 8 years
      lnclude any assumed
      names, trade names and
      dolng buslness as names


3.    Debtor's federal
                                   XX-XXXXXXX
      Employer ldentification
      Number (ElN)


4.    Debtor's address             Principal place of business                                      Mailing address, if different from principal place of
                                                                                                    business

                                   8527 S. Stony lsland                                             9427 S. Calumet
                                   Qhicago, lL 60617                                                Chlcago, lL 60619
                                   Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                   Cook                                                             Location of principal assets, if different from principal
                                                                                                    place of business
                                   County
                                                                                                    8527 S. Stony lsland Chicago, lL 60617
                                                                                                    Number, Street, City, State & ZIP Code



 5.   Debtor's website (URL)


 6.   Type of debtor               I    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                   tr   Partnership (excluding LLP)

                                   tr   Other. Specify:




                                                                                                                                                        page
 Official Form 201                            Voluntary Petition for NonJndividuals Filing for Bankruptcy                                                       1
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Debtor coMFoRT CARE, LLC.                                                                                Case number (if known)
            Name



7.   Describo debtorrs business A. Check one:
                                       E    Health Care Business (as defined in 11 U.S.C. S 101(27A))

                                       El   SingleAsset Real Estate (as defined in 11 U.S.C. S 101(51B))
                                       E    Railroad (as defined in 11 U.S.C. S 101(44))

                                       E    Stockbroker (as defined in 11 U.S.C. S 101(53A))
                                       E    Commodity Broker (as defined in 11 U.S.C. S 101(6))
                                       EI   Cbaring Bank (as defined in 11 U.S.C. S 781 (3))
                                       I    None ofthe above

                                       B. Check all that apply
                                       E    Tax-exempt entity (as described in 26 U.S.C. 5501)

                                       E    lnvestment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. S80a-3)
                                       E    lnvestment advisor (as defined in 15 U.S.C. S80b-2(aX11))

                                       C. NAICS (North American lndustry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.qov/four-diqilnational-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the            E    chapter 7
     debtor filing?
                                       E    Chapter 9

     A debtor who is a "small          I    Chapter 11. Check atl that apply.
     business debto/' must check
     the first sub-box. A debtor as
                                                              I    The debtor is a small business debtor as defined in 11 U.S.C. S 101(51 D), and its aggregate
     defined in $ 11 82(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or afiiliates) are less than
     elects to proceed under                                       $2,725,625.|f this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                    operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                               exist, follow the procedure in 11 U.S.C. S 1116(1XB).
     "small business debtor") must
     check the second sub-box.
                                                              I    The debtor is a debtor as defined in '11 U.S.C. S 11 82(1 ), its aggregate noncontingent liquidated
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. lf this sub-box is selected, attach the most recent
                                                                   balance sheet, statemeni of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. S 1116(1)(B).
                                                              tr   A plan is being filed with this petition.
                                                              tr   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. S 1126(b).
                                                              tr   The debtor is required to file periodic reports (for example, 10K and 1 0Q) with the Securities and
                                                                   Exchange Commission according to g 13 or 15(d) of the Securities Exchange Act of 1 934. File the
                                                                   Attachment to Votuntary Petition for Non-lndividuals Filing for Bankruptcy under Chapter 11
                                                                   (fficial Form 201A) with this form.
                                                              tr   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                       E     Chapter 12

9.   Were prior bankruptcy             I    No.
     cases filed by or against
     the debtor within the last 8
                                       D    Yes.
     years?
     lf more than 2 cases, attach a
     separate list.                                District             :_       ,.-.,.
                                                                                            When                                  Case number
                                                   District                                  when                                 case number
                                                                                                      ---_:




                                                                                                                                                             page2
 fficial   Form 201                               Voluntary Petition for Non-lndividuals Filing for Bankruptcy
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DeDtor COMFORT CARE, LLC.                                                                                              Case number (it knownl
              Name

10.      Are any bankruptcy cases I Ho
         pending or being filed bY 3 r-.t ,oo
         business partner or an
         affiliate of the debtor?




         List all cases. lf more than 1,
                                                            Debtor                                                                          RelationshiP
         attach a separate list
                                                            District                                      When



1   1.   Why is the case filed in          Check all that apply:
         this district?
                                           I      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                  preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                           tr     A bankruptcy case concerning debto/s affiliate, general partner, or partnership is pending in this district.


12. Doesthedebtorown or
         have possession of any
                                           Iuo
                                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed
         real property or p€nsonal         E yes.
         property that needs
         immediate aftention?                              Why does the property need immediate attention? (Check all that apply.)
                                                           EI       poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety
                                                               What is the hazard?

                                                           El lt needs to be physically secured or protected from the weather.
                                                           E    lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                           E other
                                                           Where is the property?
                                                                                               Number, Street, City, State & ZIP Code
                                                           ls the property insured?
                                                           Eruo
                                                           E yes.        lnsurance agency
                                                                         Contact name
                                                                         Phone



              Statistical and administrative information

13.      Debtor's estimation of                        Check one:
         available funds
                                                       I    Funds will be available for distribution to unsecured creditors.

                                                       E    After any administrative expenses are paid, no funds will be available to unsecured qeditors.


14. Estimated number of                    I    r-ag                                                E    r,ooo-s,ooo                              E zs,oot-so,ooo
         creditors
                                           tr so-sg                                                 E  soot-ro,ooo                                EI 5o,oo1-1oo,ooo
                                                                                                    EI ro,oor-zs,ooo                              E    More than100,000
                                           E roo-tgg
                                           tr zoo-sgg

15.      Estimated Assets                  tr   $o - $so,ooo                                        E $t,ooo,oot       - g1o million              EI $soo,ooo,ool - $1 billion
                                           tr   $so,oot - $1oo,ooo                                  tr   $to,ooo,oot - $50 million                E    $r,ooo,ooo,oo'r - g1o biuion
                                           E    $100,001 - $500,000                                 E    $so,ooo,oot - $1oo million               tr   $ro,ooo,ooo,oo1 - $50 billion
                                           r    $soo,oot $'l mittion
                                                                -                                   E    $1oo,ooo,oo't - $5oo million             E    More than $50 billion



16. Estimated liabilities                  E    $o - $so,ooo                                        I    $t,ooo,oor - g1o milion                  tr   $soo,ooo,oo1 - 91 billion

                                                                                                                                                                                   page 3
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Debtor coMFoRT CARE, LLC.                                                           Case number (,f k owr)
         Name


                         E   $so,oor - $1oo,ooo                     E  $to,ooo,oot - $so milion              El $r ,ooo,ooo,ool - $10 biuion
                         E $roo,oor - $5oo,ooo                      El $so,ooo,oor - $1oo million            E $r o,ooo,ooo,oo1 - $50 bilion
                         E $soo,oot - $1 milion                     E   $roo,ooo,oo1 - $5oo milion           E   More than $50 billion




                                                                                                                                         page 4
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             COMFORT CARE, LLC.                                                                         Case number (ittnown)
             Name



             Request for Relief, Declaration, and signatures
I
WARNING       -   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy cilse cirn result in fines up to $500,000 or
                  imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341 , 1519, and 3571 .

17. Declaration and signature
      of   authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of   debtor
                                      r have been authorized to fire this petition on beharf of the debtor.

                                      I have examined    the information in this petition and have a reasonable belief that the information is true and correct.

                                      I   declare under penalty               the foregoing is true and correct.

                                      Executed on


                                                                              ^/
                                  x                                                                            Sandy Wilborn
                                                                                                               Printed name
                                                  ot/auttrorizeOiepresentative of debtor




18. Signature of attorney


                                      William E. Jamison, Jr 6218244
                                      Printed name

                                      William E. Jamison & Associates
                                      Firm name

                                      53 W. Jackson Blvd. Suite #309
                                      Chicago, lL 60604
                                       Number, Street, City, State & ZIP Code


                                      Contact    phone (312) 226 -85OO                 Email   address wjami39246@aol.com

                                       62182MlL
                                       Bar number and State




                                                                                                                                                                   page 5
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